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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 KHIRY MALIK,
                        Plaintiff,

                        v.
                                                     Case No. 19-CV-3454 (CRC)
 DISTRICT OF COLUMBIA,

                        Defendant.

                    ORDER FOR INITIAL SCHEDULING CONFERENCE

        The above-captioned case has been assigned to this Judge for resolution. It is hereby

ORDERED that the Initial Scheduling Conference be set for Tuesday, February 11, 2020 at

11:00 AM in Courtroom 27A. Counsel who attend must be sufficiently familiar with the case to

answer any questions that arise. Parties are welcome and are encouraged to attend the Initial

Scheduling Conference and all subsequent proceedings.

       In accordance with Rule 16.3(a) of the Local Civil Rules and Federal Rule of Civil

Procedure 26(f)(1), counsel (including any nonprisoner pro se party) shall confer at least 21 days

prior to the date of the Initial Scheduling Conference to discuss the matters outlined in Local Civil

Rule 16.3(c). Pursuant to Local Civil Rule 16.3(d) and Federal Rule of Civil Procedure 26(f)(2),

counsel shall submit to the Court no later than 14 days following their meeting – i.e., no fewer than

7 days prior to the date of the Initial Scheduling Conference – a joint Report that, among other

things: (1) outlines a detailed discovery plan as described in Federal Rule of Civil Procedure

26(f)(3); (2) addresses all topics listed in Local Civil Rule 16.3(c); and (3) sets forth a proposed

scheduling order. See LCvR 16.3(d). Counsel are also directed to include in their Report a brief

statement of the case and the statutory basis for all causes of action and defenses.

       In considering a discovery schedule under Local Civil Rule 16.3(c)(8), counsel should be

guided by the schedules contained in the Appendix to this Order. Counsel are also reminded that
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Federal Rule of Civil Procedure 26(f) requires discussion of issues related to the discovery of

electronically stored information, preservation of discoverable information, and assertions of

privilege or of protection of trial-preparation materials, including consideration of whether to seek

an order reflecting an agreement of the parties regarding the procedure for asserting such claims

after production. See Fed. R. Civ. P. 26(f)(3).

       In considering alternative dispute resolution as required by Local Civil Rule 16.3(c)(5),

counsel are encouraged to consider mediation, arbitration, early neutral evaluation, and any other

form of alternative dispute resolution that can be tailored to the needs of their case.

       Parties are to communicate with the Court by motion, opposition, reply, or notice, not by

letter. All inquiries concerning the status or scheduling of any pending matter shall be directed to

the Courtroom Deputy Clerk, Ms. Lauren Jenkins, (202) 354-3422, rather than to chambers. If Ms.

Jenkins is unavailable, such inquiries shall be directed to the staff person in the Clerk’s Office who

has been designated as her substitute. Chambers personnel will not handle questions relating to the

status or scheduling of pending matters, nor will chambers provide legal advice of any kind. In an

emergency, however, chambers can be contacted at (202) 354-3480.

       This Court will grant continuances, extensions, or enlargements of time only upon the filing

of a motion. Motions for continuance of a court date must be filed at least three days prior to the

hearing and must include at least three alternative dates that have been agreed to by the parties.

Requests that do not include alternative dates acceptable to all parties will be denied.



Date: January 6, 2020
                                                              CHRISTOPHER R. COOPER
                                                              United States District Judge




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                                              APPENDIX I

                                        Discovery Schedules

       The following schedules are guidelines that are usually followed by the Court. Variations

may be appropriate in light of individual case differences. All time frames are calculated from the

date of the initial scheduling conference.

                                         Expedited       Standard      Complex
                                         Cases           Cases         Cases

 Initial Disclosures                     14 days         30 days       60 days

 Motion to Add Parties or Amend          14 days         21 days       60 days
 Pleadings
                                         30 days         45 days       90 days
 Deadline for Post-R. 26(a)
 Discovery Requests

 Proponent’s R. 26(a)(2)                 N/A             60 days       120 days
 Statements

 Opponent’s R. 26(a)(2)                  N/A             90 days       150 days
 Statements

 All discovery closed                    60 days         120 days      180 days

 Limits on number of                     12              25            25
 interrogatories per party

 Limits on number of                     3               5             10
 depositions per side
